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                                  UNITED STATES DISTRICT COURT
12                               WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
13
      UNITED STATES OF AMERICA,
14
                      Plaintiff/Respondent,                        NO. CR95-5851JET
15
                v.                                                ORDER
16
      JOSE M. RUIZ, aka JOSE RODRIGUEZ
17    FLORES,
18                    Defendant/Petitioner.
19

20                   THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion
21   for a Writ of Error Audita Querela.
22           Having considered the entirety of the records and file herein, the Court finds and rules as
23   follows:
24           Defendant seeks resentencing by way of a Writ of Audita Querela based upon United States
25

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 1   v. Booker, 125 S.Ct. 738 (2005). The Defendant’s sentence became final prior to the Booker

 2   decision. Booker does not apply retroactively to cases that became final prior to January 12, 2005.

 3   Guzman v. United States, 2005 WL 803214. Accordingly, it is hereby

 4             ORDERED that Defendant’s Motion for Writ of Error Audita Querela is DISMISSED.

 5             The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of

 6   record.

 7                            DATED this 9h day of August, 2005.

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 9                                            /s JACK E. TANNER
                                              ______________________________________
10                                            JACK E. TANNER
                                              SR. UNITED STATES DISTRICT JUDGE
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